            Case 1:16-cr-00079-BLW Document 34 Filed 08/01/16 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,
                                                        Case No. 1:16-CR-79-BLW
                Plaintiff,

       v.                                               ORDER

BREYA EMANI GREEN, et al.,

                Defendants.


       The trial date for defendants Green and Russell-Halfacre has been set for August

29, 2016, in an Order filed May 11, 2016. Two months later, on July 28, 2016, defendant

Lockhart was arraigned and his trial date was set for September 26, 2016.

       The trial dates obviously conflict and one must give way. The trial setting for Green and

Russell-Halfacre barely gives Lockhart the thirty-day preparation period to which he is entitled.

See 18 U.S.C. § 3161(c)(2). This requires that Lockhart’s trial date be the operative trial date for

all defendants. Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6), excludable time exists for

“a reasonable period of delay when the defendant is joined for trial with a co-defendant as to

whom the time for trial has not run and no motion for severance has been granted.” The Court

finds that the delay between August 29, 2016, and September 26, 2016, to be a reasonable

period of delay. Accordingly, the Court finds that the trial date of September 26, 2016,

shall apply to all defendants.


Order - 1
         Case 1:16-cr-00079-BLW Document 34 Filed 08/01/16 Page 2 of 2




        NOW THEREFORE IT IS HEREBY ORDERED, that the prior trial date for

defendants Green and Russell-Halfacre of August 29, 2016, is VACATED and that trial is

reset for Sepatember 26, 2016, at 1:30 p.m. in the Federal Courthouse in Boise Idaho.

This trial date applies to all defendants.

        IT IS FURTHER ORDERED, that all defendants will be on the same Speedy Trial

Act clock because the same excludable time finding under the Speedy Trial Act that

applied to defendant Lockhart shall apply to all defendants.

        IT IS FURTHER ORDERED, that the telephone pretrial conference for all

defendants shall be on September 15, 2016, at 4:00 pm. As only logistics will be

discussed, the defendants need not appear. The Government shall set up the conference

call.

                                             DATED: August 1, 2016



                                             B. LYNN WINMILL
                                             Chief Judge
                                             United States District Court




Order - 2
